Case 3:24-cv-06029-ZNQ-JBD           Document 13-3         Filed 07/24/24      Page 1 of 2 PageID:
                                            317



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

 TYSHON EDWARDS,                                     :
                                                     :
                                        Plaintiff,   :
                                                     :   Case No. 3:24-cv-06029-ZNQ-JBD
                        v.                           :
                                                     :
 CERTAIN UNDERWRITERS AT                             :
 LLOYD’S, LONDON, SUBSCRIBING TO                     :
 POLICY NO. PK1021612, LLOYD’S                       :
 SYNDICATE 2987,                                     :   ORDER GRANTING PRO HAC
                                                     :   VICE ADMISSION OF ADRIAN T.
                                     Defendant.      :   ROHRER, ESQUIRE

       This matter having been brought before the Court upon Defendant, Certain Underwriters

of Lloyd’s London, Subscribing to Policy No. PK1021612, Lloyd’s Syndicate 2987’s application

for the admission of Adrian T. Rohrer, Esquire to serve as counsel pro hac vice in this matter

pursuant to Local Civil Rule 101.1(c); and the Court having considered this matter, and for good

cause having been shown;

       IT IS on this           day of                                , 2024,

       ORDERED that Defendant’s application for an Order granting Adrian T. Rohrer’s

admission pro hac vice in this matter shall be and hereby is granted; and

       IT IS FURTHER ORDERED that Adrian T. Rohrer shall be and hereby is granted

admission pro hac vice for the purpose of appearing as co-counsel with MacMain Leinhauser PC

in the within matter pursuant to Local Civil Rule 101.1(c); and

       IT IS FURTHER ORDERED that Adrian T. Rohrer hereby is required to abide by the

Rules of Disciplinary Enforcement and the Local Civil Rules of the District of New Jersey; and

       IT IS FURTHER ORDERED that Adrian T. Rohrer shall notify the Court immediately

of any matter affecting their standing at the bar of any other court; and
Case 3:24-cv-06029-ZNQ-JBD           Document 13-3       Filed 07/24/24      Page 2 of 2 PageID:
                                            318



       IT IS FURTHER ORDERED that all pleadings, briefs, and other papers filed with the

Court shall be signed by an attorney at law employed by MacMain Leinhauser PC, said attorney

being authorized to practice in the District of New Jersey and maintaining an office in the

District of New Jersey, who shall be held responsible for them and for the conduct of the matter

and of Adrian T. Rohrer; and

       IT IS FURTHER ORDERED that pursuant to Local Civil Rule 101.1(c)(2), a copy of

this Order shall be forwarded to the Treasurer of the New Jersey Lawyers’ Fund for Client

Protection. Adrain T. Rohrer shall make payment of $250.00 to the Clerk of the United States

District Court for the District of New Jersey.

       IT IS SO ORDERED.



Dated this             day of                               , 2024.
